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&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL C

&nbsp;

&nbsp;DECEMBER 16, 2010



&nbsp;

&nbsp;



&nbsp;

JOYCE MARIE ACEY, APPELLANT

&nbsp;

v.

&nbsp;

THE STATE OF TEXAS, APPELLEE 



&nbsp;

&nbsp;



&nbsp;

&nbsp;FROM THE 320TH DISTRICT
COURT OF POTTER COUNTY;

&nbsp;

NO. 60,869-D; HONORABLE DON EMERSON, JUDGE



&nbsp;

&nbsp;



&nbsp;

Before CAMPBELL and HANCOCK and PIRTLE,
JJ.

&nbsp;

&nbsp;

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant, Joyce
Marie Acey, pled guilty in open court to the offense of unauthorized use of a
motor vehicle[1]
and was sentenced to 12 months confinement.&nbsp;
In presenting her appeal, counsel has filed an Anders[2]
brief in support of a motion to withdraw.&nbsp;
We grant counsel's motion and affirm.&nbsp;
&nbsp;&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In support of his motion to
withdraw, counsel certifies he has conducted a conscientious examination of the
record and, in his opinion, the record reflects no potentially plausible basis
to support an appeal.&nbsp; Anders v. California, 386 U.S. 738,
744-45, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967); In re Schulman, 252 S.W.3d 403, 406 (Tex.Crim.App. 2008).&nbsp; Counsel candidly discusses why, under the
controlling authorities, the appeal is frivolous.&nbsp; See High
v. State, 573 S.W.2d 807, 813 (Tex.Crim.App. 1978).&nbsp; Counsel has also demonstrated that he has
complied with the requirements of Anders
and In re Schulman by (1) providing a
copy of the brief to Appellant, (2) notifying her of her right to file a pro se response if she desired to do so,
and (3) informing her of her right to file a pro se petition for discretionary review.&nbsp; In re Schulman, 252 S.W.3d at 408.[3]&nbsp; Appellant's pro se response does not raise any legal issues but reasserts her
plea made to the trial court at the punishment hearing and asks for community
supervision.[4]&nbsp; The State has not filed any response.&nbsp; &nbsp;&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We have reviewed counsel's arguments
and we have independently examined the entire record to determine whether there
are any non-frivolous issues which might support the appeal.&nbsp; See
Penson v. Ohio, 488 U.S. 75, 80, 109 S.Ct. 346, 102 S.Ct. 346, 102 L.Ed.2d
300 (1988); In re Schulman, 252
S.W.3d at 409; Stafford v. State, 813
S.W.2d 503, 511 (Tex.Crim.App. 1991).&nbsp; We
have found no such issues.&nbsp; See Gainous v. State, 436
S.W.2d 137, 138 (Tex.Crim.App. 1969).&nbsp;
After reviewing the record, counsel's brief, and Appellant's pro se response, we agree with counsel
that there are no plausible grounds for appeal.&nbsp;


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly, counsel's motion to
withdraw is granted and the trial court's judgment is affirmed.&nbsp;&nbsp;&nbsp;&nbsp; 

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Patrick
A. Pirtle

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice&nbsp; 

Do not publish.











[1]See Tex. Penal Code Ann. § 31.07 (West
2003).&nbsp; An offense under this section is
a state jail felony punishable by confinement in a state jail for any term of
not more than two years or less than 180 days.&nbsp;
Id. at §
12.35(a) (West ___).





[2]Anders v. California, 386
U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).





[3]Notwithstanding
that Appellant was informed of her right to file a pro se petition for discretionary review upon execution of the Trial Court's Certification of Defendant's
Right of Appeal, counsel must comply with Rule 48.4 of the Texas Rules of
Appellate Procedure which provides that counsel shall within five days after
this opinion is handed down, send Appellant a copy of the opinion and judgment
together with notification of her right to file a pro se petition for discretionary review.&nbsp; Tex. R. App. P. 48.4.&nbsp; See
In re Schulman, 252 S.W.2d at 408 n.22 &amp; 411 n.35.





[4]We
are without authority to reform Appellant's sentence to community supervision.&nbsp; Ex
parte Hernandez, 698 S.W.2d 670, 670 (Tex.Crim.App. 1985) (citing Ocker v. State, 477 S.W.2d 288, 290
(Tex.Crim.App. 1972)); Gunther v. State, 764
S.W.2d 903, 906 (Tex.App.--Corpus Christi 1989, no pet.). See Tex. R. App. P. 21.9.&nbsp; 







